




People v. Williams,



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 82333--Agenda 12--September 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;THE PEOPLE OF THE STATE OF ILLINOIS, Appellee, v.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ADRIAN K. WILLIAMS, Appellant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed December 18, 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE HEIPLE delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant, Adrian K. Williams, was charged with burglary and retail theft.

 &nbsp;&nbsp;&nbsp;&nbsp;720 ILCS 5/19--1, 16A--3(a) (West 1994). Defendant subsequently entered into

 &nbsp;&nbsp;&nbsp;&nbsp;a plea agreement with the State. Pursuant to the agreement, defendant pled guilty

 &nbsp;&nbsp;&nbsp;&nbsp;to retail theft, in exchange for which the State dropped the burglary charge and

 &nbsp;&nbsp;&nbsp;&nbsp;recommended a sentencing cap of seven years' imprisonment. The circuit court

 &nbsp;&nbsp;&nbsp;&nbsp;of Tazewell County accepted defendant's written plea. The circuit court then

 &nbsp;&nbsp;&nbsp;&nbsp;sentenced defendant to three years in prison, followed by 40 months' probation.

 &nbsp;&nbsp;&nbsp;&nbsp;Defendant filed a timely motion to reconsider sentence, asserting that the 40-

 &nbsp;&nbsp;&nbsp;&nbsp;month probation term exceeded the statutory maximum. Defendant also challenged

 &nbsp;&nbsp;&nbsp;&nbsp;the imposition of consecutive sentences of prison and probation for a single

 &nbsp;&nbsp;&nbsp;&nbsp;offense. After a hearing on the motion, the circuit court reduced defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;probation to 30 months, but rejected defendant's argument that the imposition of

 &nbsp;&nbsp;&nbsp;&nbsp;consecutive sentences of prison and probation for a single offense was improper.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant appealed, challenging the mixed sentence. The appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;affirmed the circuit court, holding that such sentence is authorized under the

 &nbsp;&nbsp;&nbsp;&nbsp;sentencing provisions of the Unified Code of Corrections (the Code) (730 ILCS

 &nbsp;&nbsp;&nbsp;&nbsp;5/5--1--1 et seq. (West 1994)), and People v. Wendt, 163 Ill. 2d 346 (1994). 284

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. App. 3d 681. This court allowed defendant's petition for leave to appeal

 &nbsp;&nbsp;&nbsp;&nbsp;pursuant to Supreme Court Rule 315 (166 Ill. 2d R. 315). We now reverse the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate and circuit courts.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;ANALYSIS

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Initially, the State raises a procedural issue, arguing that defendant was

 &nbsp;&nbsp;&nbsp;&nbsp;required to withdraw his guilty plea before he could challenge the sentence he

 &nbsp;&nbsp;&nbsp;&nbsp;received pursuant to the plea agreement. As the defendant failed to move to

 &nbsp;&nbsp;&nbsp;&nbsp;withdraw his guilty plea, the State contends that he should be barred from

 &nbsp;&nbsp;&nbsp;&nbsp;protesting his sentence now. In People v. Evans, 174 Ill. 2d 320 (1996), we held

 &nbsp;&nbsp;&nbsp;&nbsp;that a defendant who pleads guilty in exchange for a specific sentence must move

 &nbsp;&nbsp;&nbsp;&nbsp;to withdraw his guilty plea before challenging his sentence. In Evans, however,

 &nbsp;&nbsp;&nbsp;&nbsp;the sentences were within statutory limits and the defendants only asserted that

 &nbsp;&nbsp;&nbsp;&nbsp;their sentences were excessive. In the instant case, the defendant does not contend

 &nbsp;&nbsp;&nbsp;&nbsp;that his sentence was excessive; rather, he argues that the court imposed a

 &nbsp;&nbsp;&nbsp;&nbsp;sentence which, under the statute, it had no authority to impose. Thus, Evans is

 &nbsp;&nbsp;&nbsp;&nbsp;inapplicable and cannot bar defendant's claim that his sentence was void because

 &nbsp;&nbsp;&nbsp;&nbsp;it does not conform with the statute. People v. Arna, 168 Ill. 2d 107, 113 (1995).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Turning to the merits, the issue before the court is whether a defendant

 &nbsp;&nbsp;&nbsp;&nbsp;may be sentenced to both prison and probation for a single offense. The State

 &nbsp;&nbsp;&nbsp;&nbsp;argues that such a combination is authorized under the Code and Wendt. In Wendt,

 &nbsp;&nbsp;&nbsp;&nbsp;the trial court imposed sentence on four separate offenses. The sentences consisted

 &nbsp;&nbsp;&nbsp;&nbsp;of three concurrent prison terms and one consecutive term of probation. In

 &nbsp;&nbsp;&nbsp;&nbsp;affirming the sentences, this court discussed section 5--5--3 of the Code, which

 &nbsp;&nbsp;&nbsp;&nbsp;sets forth allowable sentencing dispositions as follows:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"(b) The following options shall be appropriate dispositions,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;alone or in combination, for all felonies and misdemeanors other

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;than those identified in subsection (c) of this Section:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(1) A period of probation.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;* * *

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(4) A term of imprisonment." 730 ILCS 5/5--5--

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;3(b)(1), (b)(4) (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Wendt, we held that section 5--5--3 specifically authorizes the

 &nbsp;&nbsp;&nbsp;&nbsp;imposition of a sentence of probation in combination with a term of imprisonment.

 &nbsp;&nbsp;&nbsp;&nbsp;Wendt, 163 Ill. 2d at 354. We also noted that section 5--6--2 of the Code, which

 &nbsp;&nbsp;&nbsp;&nbsp;requires multiple periods of probation to run concurrently, gave the legislature the

 &nbsp;&nbsp;&nbsp;&nbsp;opportunity to prohibit the imposition of a sentence of probation consecutive to

 &nbsp;&nbsp;&nbsp;&nbsp;a sentence of imprisonment. We held that the fact that the legislature did not

 &nbsp;&nbsp;&nbsp;&nbsp;prohibit such a combination indicates that it is allowed. Wendt, 163 Ill. 2d at 353-

 &nbsp;&nbsp;&nbsp;&nbsp;54; 730 ILCS 5/5--6--2 (West 1994). This court further found that no part of the

 &nbsp;&nbsp;&nbsp;&nbsp;Code specifically prohibits a sentence of probation to be served consecutively to

 &nbsp;&nbsp;&nbsp;&nbsp;a sentence of imprisonment. We concluded that section 5--5--3 of the Code,

 &nbsp;&nbsp;&nbsp;&nbsp;construed in light of section 5--6--2, authorizes the imposition of a sentence of

 &nbsp;&nbsp;&nbsp;&nbsp;probation consecutive to a sentence to imprisonment. Wendt, 163 Ill. 2d at 354.

 &nbsp;&nbsp;&nbsp;&nbsp;The State urges this court to affirm the appellate court, which held that Wendt

 &nbsp;&nbsp;&nbsp;&nbsp;must be read to allow the imposition of a sentence of probation consecutive to a

 &nbsp;&nbsp;&nbsp;&nbsp;sentence of imprisonment for a single offense.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant counters, however, that the trial court exceeded its authority

 &nbsp;&nbsp;&nbsp;&nbsp;when it sentenced him to a mixed sentence of prison and probation for a single

 &nbsp;&nbsp;&nbsp;&nbsp;conviction. He urges the court to adopt the reasoning of People v. Patterson, 276

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. App. 3d 107 (1995). In Patterson, the defendant was convicted of one count

 &nbsp;&nbsp;&nbsp;&nbsp;of forgery and was sentenced to two years in prison and a consecutive 30-month

 &nbsp;&nbsp;&nbsp;&nbsp;term of probation. Patterson distinguished Wendt, noting that although Wendt

 &nbsp;&nbsp;&nbsp;&nbsp;approved consecutive sentences of prison and probation, each sentence in Wendt

 &nbsp;&nbsp;&nbsp;&nbsp;was supported by a separate conviction. Patterson held that, although no section

 &nbsp;&nbsp;&nbsp;&nbsp;of the Code specifically prohibits a sentence for a single offense that includes both

 &nbsp;&nbsp;&nbsp;&nbsp;imprisonment and probation, section 5--8--4 of the Code, which allows

 &nbsp;&nbsp;&nbsp;&nbsp;consecutive sentences of imprisonment under certain circumstances, "[b]y its

 &nbsp;&nbsp;&nbsp;&nbsp;simple plural terms," requires convictions for multiple offenses if consecutive

 &nbsp;&nbsp;&nbsp;&nbsp;sentences are to be imposed. Patterson, 276 Ill. App. 3d at 110; 730 ILCS 5/5--8--

 &nbsp;&nbsp;&nbsp;&nbsp;4 (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We agree with defendant. There is no specific provision in the Code that

 &nbsp;&nbsp;&nbsp;&nbsp;either allows or disallows a sentence of probation imposed to be served

 &nbsp;&nbsp;&nbsp;&nbsp;consecutively to a sentence of imprisonment. In Wendt, we held that such a

 &nbsp;&nbsp;&nbsp;&nbsp;disposition is permissible where each sentence is supported by a separate offense.

 &nbsp;&nbsp;&nbsp;&nbsp;The instant case, however, differs from Wendt. Here there is only one offense. We

 &nbsp;&nbsp;&nbsp;&nbsp;hold that for a single offense, a sentence of probation may not be imposed

 &nbsp;&nbsp;&nbsp;&nbsp;consecutive to a period of incarceration. While the Code provides no explicit

 &nbsp;&nbsp;&nbsp;&nbsp;guidance in this decision, the fact that the defendant is being sentenced for only

 &nbsp;&nbsp;&nbsp;&nbsp;one offense makes any other conclusion illogical. Imposing consecutive sentences

 &nbsp;&nbsp;&nbsp;&nbsp;for a single conviction constitutes two consecutive punishments for one offense.

 &nbsp;&nbsp;&nbsp;&nbsp;Where there is no clear indication of a legislative intent to increase a punishment,

 &nbsp;&nbsp;&nbsp;&nbsp;the ambiguity must be construed in favor of the defendant. Fitzsimmons v. Norgle,

 &nbsp;&nbsp;&nbsp;&nbsp;104 Ill. 2d 369, 374 (1984) (commenting on a statute that provided for the

 &nbsp;&nbsp;&nbsp;&nbsp;enhancement of a penalty); People v. Hobbs, 86 Ill. 2d 242, 246 (1981) ("any

 &nbsp;&nbsp;&nbsp;&nbsp;ambiguity in a criminal statute should be construed in favor of lenity"). Here, to

 &nbsp;&nbsp;&nbsp;&nbsp;sanction sentences of both prison and probation for one crime, without definite

 &nbsp;&nbsp;&nbsp;&nbsp;authorization in the Code, would impermissibly increase the penalty for that

 &nbsp;&nbsp;&nbsp;&nbsp;offense. Patterson, 276 Ill. App. 3d at 110; see also Wendt, 163 Ill. 2d at 355

 &nbsp;&nbsp;&nbsp;&nbsp;(noting that in that case "[t]he sentence of probation was for a separate offense

 &nbsp;&nbsp;&nbsp;&nbsp;and did not increase the penalty for any of the charges").

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Furthermore, the inconsistent character of the two sentences makes it

 &nbsp;&nbsp;&nbsp;&nbsp;incongruous to assign both as punishments for the same offense. Probation is a

 &nbsp;&nbsp;&nbsp;&nbsp;substitute for imprisonment that gives offenders an opportunity for reformation

 &nbsp;&nbsp;&nbsp;&nbsp;while allowing them to retain their freedom. People ex rel. Barrett v. Bardens,

 &nbsp;&nbsp;&nbsp;&nbsp;394 Ill. 511, 516-17 (1946). A prison sentence, however, is imposed upon those

 &nbsp;&nbsp;&nbsp;&nbsp;whose crime and past behavior necessitate removal from society. This is illustrated

 &nbsp;&nbsp;&nbsp;&nbsp;by section 5--6--1(a) of the Code, which directs a court to impose a sentence of

 &nbsp;&nbsp;&nbsp;&nbsp;probation unless it is convinced that imprisonment is necessary for the protection

 &nbsp;&nbsp;&nbsp;&nbsp;of the public or that probation would depreciate the seriousness of the offense. 730

 &nbsp;&nbsp;&nbsp;&nbsp;ILCS 5/5--6--1(a) (West 1994). In other words, a defendant may be sentenced to

 &nbsp;&nbsp;&nbsp;&nbsp;probation provided the court is satisfied that such sentence will reform the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant and serve the interests of society. A defendant guilty of a single offense

 &nbsp;&nbsp;&nbsp;&nbsp;cannot fulfill the criteria necessitating prison time, yet simultaneously qualify for

 &nbsp;&nbsp;&nbsp;&nbsp;probation under the Code. The nature of the offense and the history of the

 &nbsp;&nbsp;&nbsp;&nbsp;offender either justify prison time or warrant probation. Both punishments cannot

 &nbsp;&nbsp;&nbsp;&nbsp;be used.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In that we have decided that the mixed sentence imposed by the trial court

 &nbsp;&nbsp;&nbsp;&nbsp;was improper, we need not address defendant's alternative argument that such

 &nbsp;&nbsp;&nbsp;&nbsp;sentence could not be imposed because he was not admonished as to the

 &nbsp;&nbsp;&nbsp;&nbsp;possibility of such a sentence at the time of his guilty plea.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A sentence not authorized by statute is void. Arna, 168 Ill. 2d at 113. In

 &nbsp;&nbsp;&nbsp;&nbsp;the instant case, neither the sentence of probation nor the sentence of

 &nbsp;&nbsp;&nbsp;&nbsp;imprisonment by itself was impermissible; rather, it was the joint imposition of

 &nbsp;&nbsp;&nbsp;&nbsp;the two consecutive sentences for a single offense that exceeded statutory

 &nbsp;&nbsp;&nbsp;&nbsp;restrictions. We therefore hold the entire sentence void. The judgment of the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court is reversed, the sentence entered by the circuit court is vacated, and

 &nbsp;&nbsp;&nbsp;&nbsp;the cause remanded to the circuit court for resentencing.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Appellate court judgment reversed;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;sentence vacated;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;cause remanded with directions.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE NICKELS, specially concurring:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;I agree with the majority's conclusion that the Unified Code of Corrections

 &nbsp;&nbsp;&nbsp;&nbsp;does not authorize consecutive sentences of imprisonment and probation for a

 &nbsp;&nbsp;&nbsp;&nbsp;single conviction. However, I do not agree with the manner in which the majority

 &nbsp;&nbsp;&nbsp;&nbsp;reaches the merits of defendant's sentencing challenge.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State argues that defendant waived the right to challenge his sentence

 &nbsp;&nbsp;&nbsp;&nbsp;by failing to move to withdraw his guilty plea in the trial court. See People v.

 &nbsp;&nbsp;&nbsp;&nbsp;Evans, 174 Ill. 2d 320 (1996). The majority determines that defendant cannot

 &nbsp;&nbsp;&nbsp;&nbsp;waive this claim because his sentence is contrary to the sentencing provisions of

 &nbsp;&nbsp;&nbsp;&nbsp;the Unified Code of Corrections and is therefore "void." In support of the finding

 &nbsp;&nbsp;&nbsp;&nbsp;that defendant's sentence is void, the majority cites to People v. Arna, 168 Ill. 2d

 &nbsp;&nbsp;&nbsp;&nbsp;107 (1995). I dissented in Arna and I continue to believe that case was wrongly

 &nbsp;&nbsp;&nbsp;&nbsp;decided. See People v. Arna, 168 Ill. 2d at 115 (Nickels, J., dissenting); see also

 &nbsp;&nbsp;&nbsp;&nbsp;People v. Garcia, Nos. 81246, 81248, 81274, slip op. at 20 (October 23, 1997)

 &nbsp;&nbsp;&nbsp;&nbsp;(Nickels, J., dissenting, joined by Harrison and McMorrow, JJ.).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This case is distinguishable from Arna. In Arna, the trial court imposed

 &nbsp;&nbsp;&nbsp;&nbsp;concurrent sentences on the defendant pursuant to section 5--8--4(a) of the Unified

 &nbsp;&nbsp;&nbsp;&nbsp;Code (730 ILCS 5/5--8--4(a) (West 1992)). The trial court therefore possessed the

 &nbsp;&nbsp;&nbsp;&nbsp;statutory authority to impose concurrent sentences if it found that the offenses

 &nbsp;&nbsp;&nbsp;&nbsp;were not committed as part of a single course of conduct or that there was a

 &nbsp;&nbsp;&nbsp;&nbsp;substantial change in criminal objective. On appeal, this court in Arna came to a

 &nbsp;&nbsp;&nbsp;&nbsp;different factual conclusion in order to determine that the concurrent sentences

 &nbsp;&nbsp;&nbsp;&nbsp;were contrary to the statute and therefore "void." In this way, the majority was

 &nbsp;&nbsp;&nbsp;&nbsp;able to sidestep our rules which provide that the State may not appeal sentencing

 &nbsp;&nbsp;&nbsp;&nbsp;issues (145 Ill. 2d R. 604(a)) and that a defendant may not have his sentence

 &nbsp;&nbsp;&nbsp;&nbsp;increased on appeal (134 Ill. 2d R. 615(b)). In contrast, the trial court in the

 &nbsp;&nbsp;&nbsp;&nbsp;instant case had no statutory authority to impose consecutive sentences of

 &nbsp;&nbsp;&nbsp;&nbsp;imprisonment and probation for one offense. Moreover, there are no rules that

 &nbsp;&nbsp;&nbsp;&nbsp;prohibit a defendant from appealing sentencing issues or having a sentence

 &nbsp;&nbsp;&nbsp;&nbsp;reduced on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Putting aside the propriety of Arna, I agree with the majority's decision to

 &nbsp;&nbsp;&nbsp;&nbsp;address this case on the merits. This court has held that the traditional waiver

 &nbsp;&nbsp;&nbsp;&nbsp;analysis does not apply to a defendant's challenge of a court's statutory authority

 &nbsp;&nbsp;&nbsp;&nbsp;to impose a particular sentence. See People v. Singleton, 103 Ill. 2d 339, 346

 &nbsp;&nbsp;&nbsp;&nbsp;(1984). A sentence imposed without statutory authority is plain error. I therefore

 &nbsp;&nbsp;&nbsp;&nbsp;concur in the judgment reversing defendant's sentence.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE McMORROW joins in this special concurrence.

 &nbsp;&nbsp;&nbsp;&nbsp;


